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                                 FOR PUBLICATION

              UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT


           JOHN MILLER,                                          No. 19-15122
                                  Plaintiff-Appellant,
                                                                   D.C. No.
                                 v.                             3:17-cv-00121-
                                                                 MMD-WGC
           UNITED STATES OF AMERICA,
                         Defendant-Appellee.                        OPINION

                   Appeal from the United States District Court
                            for the District of Nevada
                  Miranda M. Du, Chief District Judge, Presiding

                       Argued and Submitted April 29, 2020
                            San Francisco, California

                                  Filed March 26, 2021

               Before: Ronald Lee Gilman, * Susan P. Graber, and
                       Daniel P. Collins, Circuit Judges.

                               Opinion by Judge Collins




              *
                 The Honorable Ronald Lee Gilman, United States Circuit Judge
          for the U.S. Court of Appeals for the Sixth Circuit, sitting by designation.
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                                    SUMMARY **


                              Federal Tort Claims Act

              The panel affirmed in part and reversed in part the
          district court’s dismissal of plaintiff’s wrongful termination
          action as barred by the Federal Tort Claims Act’s
          discretionary function exception, and remanded the case for
          further proceedings.

              Plaintiff alleged claims arising from his termination as a
          police officer with the Reno-Sparks Indian Colony, a
          federally-recognized Indian Tribe. The Tribe manages its
          police force through a contract with the Bureau of Indian
          Affairs (“BIA”), and that contract designates the Tribe’s
          police officers as Federal Government employees for
          purposes of tort liability. The district court dismissed the
          action on the sole ground that all of plaintiff’s claims were
          barred by the Federal Tort Claims Act’s discretionary
          function exception and that the court therefore lacked subject
          matter jurisdiction.

              The panel first addressed plaintiff’s claims that his
          termination was undertaken in retaliation for his having
          complained about workplace discrimination and harassment.
          In determining whether the discretionary function exception
          barred these claims, the panel applied the two-part test set
          forth in United States v. Gaubert, 499 U.S. 315 (1991), and
          Berkovitz v. United States, 486 U.S. 531 (1988). First,
          concerning whether the act or omission on which the claim
          was based “involves an element of judgment or choice,” the

              **
                 This summary constitutes no part of the opinion of the court. It
          has been prepared by court staff for the convenience of the reader.
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          panel held that plaintiff’s first two causes of action were
          based upon the exercise of judgment or choice by the Tribe
          and therefore the first element of the Gaubert-Berkovitz test
          was met as to these claims. Specifically, the panel held that
          plaintiff’s reliance on rules governing the procedure for
          making the termination decision did not establish an
          applicable federal statute, regulation, or policy that
          specifically proscribed a retaliatory action by the Tribe.
          Second, concerning whether the judgment was of the kind
          that the discretionary function exception was designed to
          shield, the panel rejected plaintiff’s contention that his
          allegations of intentional torts and bad-faith conduct sufficed
          to defeat the discretionary function exception because such
          acts were not the product of any plausible objective. The
          panel held that there was no categorical carve-out at the
          second step of the test for “bad faith” or “intentional” torts.
          Because both elements of the Gaubert-Berkovitz test were
          satisfied, the discretionary function exception barred
          plaintiff’s two retaliation-based wrongful termination
          claims.

              The panel next addressed whether the discretionary
          function exception also barred plaintiff’s third cause of
          action alleging that his termination was wrongful because it
          was the result of a process that did not adhere to the
          procedural requirements of the contract between the Tribe
          and the BIA and other relevant provisions. The panel
          applied the standards set forth in Sabrow v. United States,
          93 F.3d 1445 (9th Cir. 1996), and Vickers v. United States,
          228 F.3d 944 (9th Cir. 2000), to identify the relevant federal
          regulations and policy documents that constrained the
          Tribe’s behavior, and then determined whether they
          contained mandatory requirements that the Tribe allegedly
          breached in its handling of plaintiff’s employment situation.
          The panel held that the first element of the Gaubert-
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          Berkovitz test was not met as to this claim, and the Federal
          Tort Claims Act’s discretionary function exception did not
          apply. As a result, the district court erred in concluding that
          plaintiff’s third cause of action was barred.

              The panel held the district court erred in concluding that
          the discretionary exception function barred the two
          additional claims plaintiff sought to raise in the Third
          Amended Complaint. Plaintiff’s two new claims alleged,
          respectively, that the Tribe was negligent and grossly
          negligent in terminating him. Because these claims rested
          on a failure to follow the mandatory requirements prescribed
          in the BIA Handbook, the first element of the Gaubert-
          Berkovitz test was not met and the discretionary function
          exception did not apply. The panel concluded that the
          district court erred in denying leave to amend to assert these
          new claims.


                                   COUNSEL

          Scott W. Souers (argued), Alling & Jillson Ltd., Lake Tahoe,
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                                   OPINION

          COLLINS, Circuit Judge:

              John Miller appeals the district court’s dismissal of his
          operative complaint, which alleges various causes of action
          arising from his termination as a police officer with the
          Reno-Sparks Indian Colony, a federally recognized Indian
          Tribe. The Tribe manages its police force through a contract
          with the Bureau of Indian Affairs (“BIA”), and that contract
          designates the Tribe’s police officers as Federal Government
          employees for purposes of tort liability. As a result, Miller’s
          claims are governed by the Federal Tort Claims Act
          (“FTCA”), and the United States is the sole defendant. The
          district court held that all of Miller’s claims were barred by
          the FTCA’s discretionary function exception, 28 U.S.C.
          § 2680(a), and the court denied leave to amend as futile.
          Reviewing de novo, Bibeau v. Pacific NW Research Found.,
          Inc., 339 F.3d 942, 944 (9th Cir. 2003), we affirm in part,
          reverse in part, and remand the case for further proceedings.

                                        I

                                        A

              The Reno-Sparks Indian Colony is a federally
          recognized Indian Tribe in northwest Nevada. See 86 Fed.
          Reg. 7554, 7556 (Jan. 29, 2021). In 2005, pursuant to § 102
          of the Indian Self-Determination Act (“ISDA”), 25 U.S.C.
          § 5321, the Tribe entered into a “self-determination
          contract” with the BIA governing tribal law-enforcement
          services (“the Contract”). Such contracts under the ISDA
          allow a tribe to perform tasks that would otherwise have
          been carried out by the Federal Government and to do so
          using “money that the Government would have otherwise
          spent on the program.” Menominee Indian Tribe v. United
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          States, 577 U.S. 250, 252 (2016). The Tribe and the BIA
          ratified the Contract on a multi-year basis, and it was in
          effect at all relevant times here. Although the Contract states
          that the Tribe shall “perform all tribal law services on the
          Reno-Sparks Indian Colony,” its provisions concerning
          “Tort Claims” specify that, “[f]or the purpose of Federal Tort
          Claims Act Coverage, the [Tribe] and its employees . . . are
          deemed to be employees of the Federal government while
          performing work under this contract.”

              Under the auspices of the Contract, the Tribe employed
          Miller as a law-enforcement officer from June 27, 2013 until
          his termination on August 22, 2014. When he began his
          employment, Miller was subject to a 90-day introductory
          probationary period, and upon his successful completion of
          this period, he became a regular, full-time employee. Miller
          alleges that, starting in January 2014, his “colleagues and
          superiors subjected him to workplace discrimination and
          harassment regarding his race, sex, perceived sexual
          orientation, and temporary physical disabilities.”        In
          particular, Miller contends that Sergeant Lance Avansino
          subjected him to harassment based on Miller’s being “the
          wrong color of skin” and Avansino’s perception that Miller
          was gay. In April and May 2014, Miller complained about
          this discrimination and harassment to the Tribe’s Chief of
          Police, Darrell Bill, but without success.

              On June 26, 2014, Sergeant Avansino informed Miller
          during a performance review that Avansino was extending
          Miller’s probationary period until December 27, 2014.
          When Miller complained that he had already completed the
          90-day probationary period, Avansino responded that a
          previous Acting Chief of Police had adopted a one-year
          probationary policy that superseded the standard 90-day
          probationary period applicable under the Tribe’s general
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          human-resources policies.       Later that day, after the
          performance review meeting, Miller sent Avansino an email
          requesting a copy of the alleged one-year probationary
          policy. Miller was never provided with such a copy, and he
          denies that any such policy existed.

              Miller scheduled a meeting on July 14, 2014 with Chief
          Bill to discuss both the alleged harassment and the allegedly
          unauthorized probation reinstatement, but Bill did not come
          to the scheduled appointment. Shortly thereafter, Miller
          submitted a formal workplace discrimination claim to Tribal
          Administrator Gerald Smith, but no action was taken in
          response. Miller also filed an administrative appeal of
          Avansino’s reinstatement of probation, but the Tribe later
          denied his request to appeal.

              On August 25, 2014, the Tribe mailed Miller a letter
          notifying him that it was terminating him for cause on the
          ground that he had allegedly filed a fraudulent
          unemployment claim with the Nevada Unemployment
          Office on August 14, 2014. The termination letter stated that
          Miller’s alleged fraudulent unemployment claim was a clear
          violation of the Tribe’s written Code of Ethics and that it
          provided grounds for immediate termination. Miller
          informed the Tribe that he had not filed the unemployment
          claim and that he had been the victim of identity theft.

              Miller promptly filed an administrative appeal of his
          termination. Three days later, Miller met with Chief Bill,
          Sergeant Avansino, and another officer concerning his
          appeal, but to no avail. An Appeals Committee upheld his
          termination in October 2014.
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                                        B

              In June 2015, Miller filed a formal charge of
          discrimination with the Nevada Equal Rights Commission
          and the U.S. Equal Employment Opportunity Commission
          (“EEOC”), but the EEOC concluded that, in light of the
          involvement of an Indian Tribe, it had no jurisdiction over
          the matter. Cf. Snyder v. Navajo Nation, 382 F.3d 892, 896–
          97 (9th Cir. 2004); EEOC v. Karuk Tribe Hous. Auth.,
          260 F.3d 1071, 1082 (9th Cir. 2001).

              Miller thereafter filed an administrative wrongful
          termination claim with the Department of the Interior, in
          accordance with the pre-filing requirements of the FTCA.
          See 28 U.S.C. § 2675(a). Miller’s administrative claim
          alleged that he had been the “victim of continuous
          employment harassment” by Chief Bill and Sergeant
          Avansino and that he consequently had filed a “workplace
          harassment complaint” with the Tribe. But because he “was
          considered a ‘problem child,’” Miller alleged, the Tribe
          instead terminated him on the pretextual ground that he had
          committed unemployment fraud. In fact, Miller asserted, the
          fraudulent unemployment claim was the result of identity
          theft, and the Tribe therefore effectively “punished [him] for
          being the victim of a crime.” Miller’s administrative claim
          also alleged that, before terminating him, the Tribe had
          failed to provide Miller with the sort of investigation
          “guaranteed to [him] by department policy and procedures.”
          Had those procedures been followed, Miller contended, his
          innocence of the unemployment-fraud allegation would
          have been confirmed, and that “would have allowed [him] to
          maintain [his] employment[,] reputation and financial
          stability.” In support of this assertion, Miller’s claim
          referenced a December 2015 letter from the Nevada
          Department of Employment, Training & Rehabilitation
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          (“DETR”) absolving him of unemployment fraud. 1 The
          Department of the Interior ultimately sent Miller a letter
          notifying him that it had denied his claim and informing him
          of his right to file suit in federal court.

              On February 24, 2017, Miller filed suit against the
          United States under the FTCA. Alleging facts comparable
          to those set forth above, Miller’s operative Second Amended
          Complaint asserted three wrongful termination causes of
          action under Nevada law against the United States. The
          Government moved to dismiss, but before the district court
          ruled on the motion, Miller sought leave to file a Third
          Amended Complaint. Miller premised his motion on “newly
          discovered facts” that he said showed that, at the time the
          Tribe upheld his termination, it already knew that he had
          been the victim of identity theft. Specifically, Miller had
          obtained a document from DETR suggesting that on
          September 5, 2014—after the Tribe had terminated him but
          before the Appeals Committee upheld that termination—
          DETR had notified the Tribe that the alleged fraudulent
          unemployment claim was a case of identity theft. The DETR
          document, which Miller attached to his proposed Third
          Amended Complaint, contained a brief notation stating that,
              1
                 Specifically, DETR stated in its letter that it had “determined that
          a person other than [Miller] appears to have obtained [his] personal
          identifying information and created this [unemployment] claim without
          [his] knowledge.” As the letter explained:

                   This claim shows hallmarks of having been involved
                   in a large identity theft ring having roots in Florida.
                   While the person or persons who filed the claim have
                   not been apprehended and prosecuted and therefore
                   there is no firm proof of identity theft, the
                   circumstances indicate that you were not involved in
                   filing this claim and are a victim of identity theft in this
                   instance.
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          on “09/05/2014,” DETR “[a]dvised Reno Sparks Indian
          Colony that claim was hijack in ID Theft case.” In light of
          this additional information, Miller sought leave to assert two
          new causes of action—negligence and gross negligence.

              The district court dismissed the Second Amended
          Complaint, concluding that all of the claims were barred by
          the discretionary function exception. The court held that the
          same would be true of the additional claims contained in
          Miller’s proposed Third Amended Complaint, and the court
          therefore denied his motion for leave to amend. Because
          none of the other issues raised by the Government’s motion
          to dismiss would alter these conclusions, the court declined
          to address them. Miller timely appealed.

                                       II

              All of Miller’s claims in the operative Second Amended
          Complaint rest exclusively on the FTCA. Miller properly
          invokes the FTCA, because the Tribe’s Contract with the
          BIA specifies that, “[f]or the purpose of Federal Tort Claims
          Act Coverage,” the Tribe and its employees “are deemed to
          be employees of the Federal government while performing
          work under this contract.” Thus, subject to the various
          limitations and exceptions set forth in the FTCA, the United
          States is liable in tort, to the same extent as a “private
          person,” “for money damages . . . for injury or loss of
          property, or personal injury or death caused by the negligent
          or wrongful act or omission” of any tribal employee “while
          acting within the scope of his [or her] office or employment”
          in performing work under the Contract. 28 U.S.C.
          § 1346(b)(1); see also id. § 2674.

              The applicable substantive rules of tort law for claims
          under the FTCA are supplied by “the law of the place where
          the act or omission occurred,” id. § 1346(b)(1), which all
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          parties, and we, agree is Nevada. Two of Miller’s Nevada-
          law claims challenge the substance of the termination
          decision. His first claim for “retaliatory discharge” falls
          under the rubric of Nevada’s cause of action for “tortious
          discharge.” See D’Angelo v. Gardner, 819 P.2d 206, 216
          (Nev. 1991) (“The essence of a tortious discharge is the
          wrongful, usually retaliatory, interruption of employment
          by means which are deemed to be contrary to the public
          policy of this state.” (emphasis added)). The gravamen of
          this claim is that Miller’s “protected activity” in complaining
          about workplace discrimination “was a motivating factor in
          the adverse employment action.” His second cause of action
          for “bad faith” wrongful termination similarly alleges that
          the Tribe acted in bad faith when it fired Miller “for reporting
          his superiors’ conduct of workplace discrimination and
          harassment.” By contrast, Miller’s third cause of action,
          which is also for “tortious discharge” in violation of public
          policy, relies primarily on the theory that the process by
          which the termination decision was made was deficient. 2
          Specifically, this claim alleges that, in the process leading up
          to Miller’s termination, the Tribe denied him “his procedural
          rights” as set forth in the Contract and other applicable
          provisions.

              The district court dismissed the action on the sole ground
          that all of Miller’s claims were barred by the FTCA’s
          discretionary function exception and that the court therefore
          lacked subject matter jurisdiction. See Sabow v. United
          States, 93 F.3d 1445, 1451 (9th Cir. 1996) (“Where the

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                 This third cause of action briefly alleges, in the alternative, that
          Miller’s termination also tortiously violated public policy to the extent
          that it was motivated by retaliation. Because this alternative aspect of
          Miller’s third claim is entirely duplicative of his first cause of action, we
          disregard it.
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          discretionary function exception to the FTCA applies, no
          federal subject matter jurisdiction exists.”). As applicable
          here, the discretionary function exception bars liability
          against the United States for any of Miller’s claims that are
          “based upon the exercise or performance or the failure to
          exercise or perform a discretionary function or duty on the
          part of” a tribal employee, “whether or not the discretion
          involved be abused.” 28 U.S.C. § 2680(a). The district court
          held that the Tribe’s “ultimate decision . . . whether to fire”
          Miller was “discretionary” within the meaning of this
          exception and that, because all of Miller’s claims rested on
          that termination, the action had to be dismissed. The district
          court explicitly rejected Miller’s argument that, because his
          distinct procedural challenge to his termination rested on the
          Tribe’s failure to follow “mandatory BIA and Tribe
          procedures,” that challenge therefore fell outside the
          discretionary function exception.

              We agree with the district court that, to the extent that
          Miller’s claims alleged that the Tribe’s decision to fire him
          was retaliatory, those claims are barred by the discretionary
          function exception. But the district court erred in concluding
          that Miller’s procedural challenge to his termination stood
          on the same footing, and we therefore reverse its dismissal
          of Miller’s third cause of action.

                                        A

              We begin by addressing Miller’s claims that his
          termination was undertaken in retaliation for his having
          complained about workplace discrimination and harassment.
          In determining whether the discretionary function exception
          bars these claims, we apply the two-part test set forth in
          United States v. Gaubert, 499 U.S. 315 (1991), and Berkovitz
          v. United States, 486 U.S. 531 (1988). Under that test, the
          exception applies if (1) the act or omission on which the
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          claim is based “involves an element of judgment or choice”;
          and (2) “that judgment is of the kind that the discretionary
          function exception was designed to shield.” Berkovitz,
          486 U.S. at 536; see also Gaubert, 499 U.S. at 322–23.
          Applying these standards, we conclude that the discretionary
          function exception bars Miller’s claims that the Tribe’s
          decision to terminate him was impermissibly retaliatory.

                                        1

              The first element of the Gaubert-Berkovitz test reflects
          the obvious fact that, under the plain text of the statute, the
          “exception covers only acts that are discretionary in nature.”
          Gaubert, 499 U.S. at 322 (emphasis added). The concept of
          discretion connotes a “choice” among various options, and
          therefore the exception cannot apply if the employee in
          question was “bound to act in a particular way.” Id. at 329.
          Thus, if an applicable “‘federal statute, regulation, or policy
          specifically prescribes a course of action,’” then the
          “requirement of judgment or choice is not satisfied,” because
          “‘the employee has no rightful option but to adhere to the
          directive.’” Id. at 322 (emphasis added) (quoting Berkovitz,
          486 U.S. at 536). Similarly, if the particular option chosen
          by the employee is “specifically proscribed by applicable
          law,” then the “discretionary function exception does not
          apply.” Broidy Cap. Mgmt., LLC v. State of Qatar, 982 F.3d
          582, 591 (9th Cir. 2020); see also Nurse v. United States,
          226 F.3d 996, 1002 (9th Cir. 2000) (“In general,
          governmental conduct cannot be discretionary if it violates a
          legal mandate.”).

              “This court and others have held that decisions relating
          to the hiring, training, and supervision of employees usually
          involve policy judgments of the type Congress intended the
          discretionary function exception to shield.” Vickers v.
          United States, 228 F.3d 944, 950 (9th Cir. 2000) (emphasis
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          added) (collecting cases). Our recognition that “hiring”
          decisions involve the requisite element of judgment or
          choice necessarily means that the correlative decision to fire
          an employee is likewise one that, as a general matter,
          quintessentially involves a choice among options. See
          Sydnes v. United States, 523 F.3d 1179, 1184 (10th Cir.
          2008). Given that the Tribe’s termination decision would
          thus ordinarily be deemed discretionary, Miller had the
          burden to identify a “federal statute, regulation, or policy”
          that constrained the Tribe’s substantive discretion in a way
          that precludes applying the discretionary function exception
          here. Berkovitz, 486 U.S. at 536 (emphasis added); see also
          Sydnes, 523 F.3d at 1184. 3 He failed to do so.

              In addressing this issue, we note at the outset that Tribes
          are expressly excluded from coverage under the relevant
          laws that would preclude a private employer or a federal
          agency from doing what the Tribe allegedly did here. See,
          e.g., 42 U.S.C. § 2000e-3(a) (Title VII provision barring
          retaliation against employee for asserting discrimination
          claim); id. § 2000e(b) (excluding “an Indian tribe” and the
          “United States” from Title VII’s definition of “employer”);
          id. § 2000e-16(a) (generally extending protection against

               3
                 As this passage from Berkovitz reflects, a plaintiff cannot rely on
          the premise that state law “specifically prescribes a course of action for
          an employee to follow,” 486 U.S. at 536, except perhaps to the extent
          that “a federal policy incorporating state tort law” limits “the discretion
          of federal employees within the meaning of the FTCA,” Sydnes,
          523 F.3d at 1184. Under the FTCA, state tort law is applied to the
          employee’s conduct only after the federal discretionary function
          exception has been determined not to apply. See id. (noting that a
          contrary approach would “put the cart before the horse”). Indeed, there
          would be little, if anything, left to the discretionary function exception if
          it could be defeated by the very state tort law sought to be applied under
          the FTCA.
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          “discrimination based on race, color, religion, sex, or
          national origin” to federal employees); see also Ayon v.
          Sampson, 547 F.2d 446, 450 (9th Cir. 1976) (“Congress
          incorporated the protections against retaliation in its
          enactment of § 2000e-16.”). While the Contract states that
          tribal employees such as Miller are deemed employees of the
          Federal Government “[f]or the purpose of Federal Tort
          Claims Act Coverage” (emphasis added), Miller has not
          contended that the Contract makes him an employee of the
          Federal Government for purposes of any such
          antidiscrimination statute or any other federal statute.
          Instead, in arguing that the Tribe lacked discretion here,
          Miller relies only on the Contract itself, federal regulations
          governing such contracts, and other BIA policies. 4

              Miller’s primary contention is that the Tribe denied him
          various procedural rights that were afforded by the Contract
          and relevant federal regulations. These procedural rights,
          however, are not relevant to his claims challenging the
          substance of the Tribe’s choice to terminate him. The
          applicability of the discretionary function exception to a
          particular “claim” turns on what it is “based upon” and
          whether that specific wrongful action involves “a
          discretionary function or duty.” 28 U.S.C. § 2680(a).
          “Although the [FTCA] contains no definition of the phrase
          ‘based upon,’ the Supreme Court has held that the phrase is
          read most naturally to mean those elements of a claim that,
          if proven, would entitle a plaintiff to relief under his or her
          theory of the case.” Broidy, 982 F.3d at 593–94 (simplified)
          (addressing the comparable phrase “based upon” in the

              4
                In his briefs in this court, Miller likewise has not contended that
          we should consider tribal law as a source of limits on the Tribe’s
          discretion for purposes of applying the FTCA’s discretionary function
          exception. Therefore, we do not address that question.
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          Foreign Sovereign Immunities Act). Miller’s first two
          causes of action are both based on the theory that the Tribe
          improperly retaliated against him for having complained
          about discrimination and harassment. See supra at 10–11.
          Consequently, a retaliatory action is an element of these two
          torts as pleaded by Miller. Thus, to defeat the discretionary
          function exception as to these retaliation-based claims,
          Miller must, inter alia, point to some applicable federal
          statute, regulation, or policy that specifically proscribes such
          a retaliatory action by the Tribe. Miller’s reliance on rules
          governing the procedure for making the termination decision
          does not establish such a proscription.

              Miller also claims that the Tribe is subject to the BIA’s
          “Law Enforcement Handbook” and that this Handbook
          contains a provision stating that “[e]mployees may not be
          disciplined for allegations deemed unfounded, exonerated,
          or not sustained, and information from these investigations
          may not be placed in the employee’s personnel file.” But
          this provision does not “specifically proscribe[]” retaliation,
          see Broidy, 982 F.3d at 591 (emphasis omitted), which is
          what Miller’s first two causes of action are “based upon.”
          See supra at 15–16. This provision thus fails to establish that
          the Tribe’s retaliatory termination decision was not
          discretionary. See Sydnes, 523 F.3d at 1184 (similarly
          concluding that alleged retaliatory termination of employee
          of civilian contractor was discretionary because the
          regulations that plaintiff contended limited the agency’s
          discretion “do not purport to preclude retribution by
          officials”).

              Accordingly, we conclude that Miller’s first two causes
          of action are “based upon” the exercise of “judgment or
          choice” by the Tribe and that the first element of the
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          Gaubert-Berkovitz test is met as to these claims.         See
          Gaubert, 499 U.S. at 322.

                                        2

              The second element of the Gaubert-Berkovitz test
          reflects a recognition that an element of judgment or choice
          is not enough to warrant application of the discretionary
          function exception and that the judgment involved must be
          “of the kind that the discretionary function exception was
          designed to shield.” Berkovitz, 486 U.S. at 536. After all,
          “driving requires the constant exercise of discretion,” but an
          “official’s decisions in exercising that discretion can hardly
          be said” to be the sort that the exception was intended to
          protect. Gaubert, 499 U.S. at 325 n.7 (emphasis added).
          “Because the purpose of the exception is to prevent judicial
          ‘second-guessing’ of legislative and administrative
          decisions grounded in social, economic, and political policy
          through the medium of an action in tort,” the exception,
          “properly construed,” “protects only governmental actions
          and decisions based on considerations of public policy.” Id.
          at 323 (simplified) (emphasis added). The inquiry is an
          objective one: what matters is not whether the employee’s
          “subjective intent in exercising the discretion conferred by
          statute or regulation” was actually based on policy
          considerations, but whether the actions taken by the
          employee “are susceptible to policy analysis.” Id. at 325
          (emphasis added); see also Gonzalez v. United States,
          814 F.3d 1022, 1032 (9th Cir. 2016) (“[W]e examine the
          nature of the Government’s action—or in this case,
          omission—and decide whether it is susceptible to policy
          analysis under an objective assessment.” (simplified));
          Miller v. United States, 163 F.3d 591, 593 (9th Cir. 1998)
          (“The decision need not be actually grounded in policy
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          considerations, but must be, by its nature, susceptible to a
          policy analysis.”).

              As noted earlier, we have regularly concluded that
          “decisions relating to the hiring, training, and supervision of
          employees usually involve policy judgments of the type
          Congress intended the discretionary function exception to
          shield.” Vickers, 228 F.3d at 950; see also Nurse, 226 F.3d
          at 1001 (holding that “policy-making defendants’ allegedly
          negligent and reckless employment, supervision and
          training” of customs agents “fall squarely within the
          discretionary function exception”). And, for purposes of this
          second element of the discretionary function test, we
          similarly perceive no basis for treating termination decisions
          differently from hiring or training decisions. As the flip side
          of a hiring decision, a decision to fire an employee is equally
          susceptible to a policy analysis. See Sydnes, 523 F.3d
          at 1185–86 (“[D]ecisions regarding employment and
          termination . . . are precisely the types of administrative
          action the discretionary function exception seeks to shield.”
          (simplified)). Indeed, we held in Vickers that an allegedly
          negligent “delay in discharging” an employee was
          “susceptible to policy analysis.” 228 F.3d at 950–51
          (emphasis added). We therefore have little difficulty in
          concluding that the decision to terminate Miller was likewise
          “of the kind that the discretionary function exception was
          designed to shield.” Berkovitz, 486 U.S. at 536.

              Given that the Tribe’s termination is thus “presumed” to
          be “grounded in policy,” Miller’s complaint could “survive
          a motion to dismiss” only by “alleg[ing] facts which would
          support a finding that the challenged actions are not the kind
          of conduct that can be said to be grounded in the policy of
          the regulatory regime.” Gaubert, 499 U.S. at 324–25.
          Citing Franchise Tax Board of California v. Hyatt, 407 P.3d
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          717 (Nev. 2017) (en banc), rev’d on other grounds,
          139 S. Ct. 1485 (2019), Miller contends that his allegations
          of intentional torts and bad-faith conduct suffice to defeat the
          discretionary function exception because, in his view, such
          acts are not the product of any plausible policy objective. In
          Hyatt, the Nevada Supreme Court construed Nevada’s state-
          law analog to the FTCA and adopted a construction similar
          to the one Miller advocates here. See 407 P.3d at 733. The
          Nevada high court is, of course, free to construe its state
          statute as it deems appropriate, but in several respects its
          reasoning does not fit the FTCA.

              As an initial matter, the Hyatt court relied on the
          conclusion that the Nevada statute’s discretionary function
          immunity “does not protect a government employee for
          intentional torts or bad-faith misconduct, as such
          misconduct, by definition cannot be within the actor’s
          discretion.” 407 P.3d at 733 (simplified) (emphasis added).
          As this quotation makes clear, Nevada’s carve-out of
          intentional and bad-faith torts implicitly rests on the first
          element of the discretionary function test—whether there is
          discretion to perform the act—and then relies on state law to
          supply those limits. But under the FTCA the applicable
          limits on discretion must be derived from federal law, not
          state law. See supra note 3.

              Moreover, to the extent that Hyatt relied on the second
          element of the discretionary function test in carving out
          intentional and bad-faith torts from Nevada’s version of the
          FTCA, the Supreme Court’s decision in Gaubert forecloses
          adopting that view in the context of the FTCA. In particular,
          recognizing such a carve-out based on the second element of
          the test would contravene Gaubert’s clear instruction that the
          “focus” of the second element “is not on the agent’s
          subjective intent,” 499 U.S. at 325, but instead requires an
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          objective inquiry. See also Gonzalez, 814 F.3d at 1032;
          Miller, 163 F.3d at 593. In addition, such a carve-out is
          inconsistent with Gaubert’s directive that the second
          element of the test turns on whether the challenged actions
          are “the kind of conduct that can be said to be grounded in
          the policy of the regulatory regime.” Gaubert, 499 U.S.
          at 325 (emphasis added). As that phrasing confirms, the
          inquiry is framed “at a higher level of generality” by “asking
          categorically (rather than case specifically) whether the kind
          of conduct at issue can be based on policy concerns.”
          Sydnes, 523 F.3d at 1185. Finally, any such Hyatt-style
          carve-out cannot be squared with the FTCA’s express
          instruction that the discretionary function exception applies
          “whether or not the discretion involved be abused.”
          28 U.S.C. § 2680(a) (emphasis added). Accordingly, there
          is no categorical carve-out, at the second step of the test, for
          “bad faith” or “intentional” torts. 5




               5
                Miller also points to Hyatt’s assertion that some federal courts have
          adopted a categorical exclusion. See 407 P.3d at 731. We disagree with
          Hyatt’s reading of the cited cases. See Coulthurst v. United States,
          214 F.3d 106, 110–11 (2d Cir. 2000) (discussing some of the
          circumstances in which an FTCA claim “involves negligence unrelated
          to any plausible policy objectives”); Palay v. United States, 349 F.3d
          418, 431–32 (7th Cir. 2003) (discussing Coulthurst’s analysis of “types
          of negligence”); id. at 428 (confirming that “applicability of the
          exception depends not on the intent of the government actor ‘but on the
          nature of the actions taken and on whether they are susceptible to policy
          analysis’” (quoting Gaubert, 499 U.S. at 325)); Triestman v. Federal
          Bureau of Prisons, 470 F.3d 471, 475–76 (2d Cir. 2006) (relying on
          Coulthurst to conclude that a “negligent guard” theory was not barred by
          discretionary function exception). None pertained to intentional torts, so
          they are not instructive here.
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              Because both elements of the Gaubert-Berkovitz test are
          satisfied, the discretionary function test bars Miller’s two
          retaliation-based wrongful termination claims.

                                             B

               We next address whether the discretionary function
          exception also bars Miller’s third cause of action, which
          alleges that his termination was wrongful because it was the
          result of a process that did not adhere to the procedural
          requirements of the Contract and other relevant provisions.
          As with Miller’s prior claims, we answer this question by
          first identifying what acts or omissions this claim is “based
          upon” and then determining whether those actions reflect the
          performance of a “discretionary function or duty” under the
          same two-part Gaubert-Berkovitz test. 28 U.S.C. § 2680(a).

              Miller’s third cause of action asserts a claim for “tortious
          discharge” under Nevada law, which requires the plaintiff to
          plead and prove, inter alia, that the defendant engaged in a
          “wrongful, usually retaliatory, interruption of employment
          by means which are deemed to be contrary to the public
          policy of this state.” D’Angelo, 819 P.2d at 216 (emphasis
          added). The violation of “public policy” that forms the basis
          of Miller’s third claim is the Tribe’s failure to comply with
          the procedural requirements that were applicable under the
          Contract and other rules and policies. 6 In contrast to the first
          two claims, Miller’s third cause of action thus does not rest

              6
                In moving to dismiss, the Government argued that Nevada law
          would not recognize a “tortious discharge” cause of action based on these
          alleged procedural deficiencies. The district court found it unnecessary
          to address this issue and instead assumed arguendo that Miller’s third
          cause of action states a claim under Nevada law. See supra at 10. We
          make the same assumption for purposes of this appeal and therefore
          express no view on that question.
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          on the assertion that the Tribe engaged in retaliation. Rather,
          the violation-of-public-policy element of the tort rests on the
          Tribe’s alleged violation of procedural rules during the
          process leading up to his termination. Because these
          procedural violations are the actions that satisfy the
          wrongfulness element of this claim, they are what that claim
          is “based upon” for purposes of the FTCA. Broidy, 982 F.3d
          at 593–94.

              The question, then, is whether the procedural violations
          that Miller alleges here involve the performance of a
          discretionary function or duty under the FTCA. We
          addressed comparable questions in Sabow, 93 F.3d at 1451–
          54, and in Vickers, 228 F.3d at 951–53, and we reached
          different conclusions in light of the distinct claims and
          records before us in each case. Applying the reasoning of
          these cases to Miller’s third cause of action, we conclude that
          the discretionary function exception does not apply.

              In Sabow, the plaintiffs asserted a claim under the FTCA
          for negligent infliction of emotional distress based on the
          alleged failure of Navy officials “to follow specific
          investigative regulations and directives” applicable to the
          investigation of the death of one of plaintiffs’ relatives, who
          was a Marine Corps Colonel. 93 F.3d at 1450–51. Applying
          the two-step Gaubert-Berkovitz test, we held that this aspect
          of the claim was barred by the discretionary function
          exception because (1) none of the cited regulations and
          manuals imposed “mandatory” directives with respect to the
          challenged aspects of the investigation; and (2) the
          “discretionary judgments” at issue “involved social,
          economic, or political considerations.” Id. at 1453–54.

              In Vickers, plaintiff Miriam Vickers sued the United
          States after her ex-husband, an Immigration and
          Naturalization Service (“INS”) employee named Akanni
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          Kendalla, shot her with his INS-issued firearm after a
          domestic argument. 228 F.3d at 946–48. Among other
          things, Vickers alleged that the INS had been negligent “in
          failing to investigate” an earlier alleged incident in which
          Kendalla had used his INS-issued revolver to shoot at a
          former girlfriend. 7 Id. at 947–48 & n.3. As a result, Vickers
          alleged, Kendalla “was in possession of the gun he used to
          shoot her, a gun he otherwise would not, and should not,
          have had.” Id. at 947. In holding that the discretionary
          function exception did not bar this claim, we distinguished
          Sabow, which we described as “recogniz[ing] that the
          discretionary function exception protects agency decisions
          concerning the scope and manner in which it conducts an
          investigation so long as the agency does not violate a
          mandatory directive.” Id. at 951 (emphasis added).
          Reviewing the relevant regulations and administrative
          manual in Vickers, we concluded that they imposed a
          mandatory duty to conduct some investigation of “misuse of
          Service-issued firearms.” Id. at 953. Because the decision
          not to investigate the earlier shooting incident “was not a
          matter of judgment or choice,” the INS’s effort to invoke the
          discretionary function exception failed at the first step. Id.;
          see also Bailey ex rel. Estate of Bailey v. United States,
          623 F.3d 855, 860 (9th Cir. 2010) (“An agency does not
          retain discretion whether to act where a statute or policy
          directs mandatory and specific action and the agency has no
          lawful option but to adhere to the directive.” (emphasis
          added)).



              7
                Vickers also asserted a separate claim that the INS had negligently
          delayed its termination of Kendalla, but (as noted earlier, see supra at 18)
          we held that the discretionary function exception barred that particular
          claim. Vickers, 228 F.3d at 949–51.
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              In applying the standards set forth in Sabow and Vickers,
          we must first identify the relevant federal regulations and
          policy documents that constrain the Tribe’s behavior and
          then determine whether they contain mandatory
          requirements that the Tribe allegedly breached in its
          handling of Miller’s employment situation. Given that,
          under the Contract between the Tribe and the BIA, the
          Federal Government is absorbing (within the limits of the
          FTCA) the Tribe’s liability for tribal employees’ relevant
          actions, it is hardly surprising that the Contract contains a
          number of provisions governing the procedures to be used to
          investigate potential misconduct. For example, the Contract
          broadly states that all law-enforcement services must be
          conducted in accordance with, inter alia, the “procedures
          and guidelines contained in . . . 25 CFR,” i.e., the rules
          contained in Title 25 of the Code of Federal Regulations.
          See also 25 C.F.R. § 12.11 (stating that regulations
          contained in Part 12 of the C.F.R. apply to any “tribal law
          enforcement program receiving Federal funding”). In
          addition to meeting the various requirements set forth in
          those federal regulations, the Tribe’s law-enforcement
          program must also meet the “minimal qualitative standards
          and procedures specified in,” inter alia, the BIA’s “Law
          Enforcement Handbook.” See 25 C.F.R. § 12.14. In
          addition, the Contract provides that the Tribe shall “adhere”
          to any applicable “general requirements of tribal personnel
          systems and policies prior to taking any adverse action
          against contract employees.” If the Tribe does not have
          established policies and procedures concerning the handling
          and investigation of “citizen complaints” and the taking of
          “adverse action” against tribal law-enforcement personnel,
          then the Contract sets forth certain default provisions that
          must be followed in that regard.
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              These various regulations and policy documents contain
          several requirements that are pertinent here. First, § 12.53
          of the applicable regulations describes the BIA’s “internal
          affairs program,” which “investigates all allegations of
          misconduct by . . . any officer receiving funding and/or
          authority from the BIA.” 25 C.F.R. § 12.53. To ensure that
          the BIA’s internal affairs unit will be able to undertake this
          task, § 12.53 specifically provides that “[a]ny person having
          knowledge of officer misconduct must report that
          information to the officer’s supervisor,” who then “must
          immediately report allegations to the internal affairs unit.”
          Id. (emphasis added). The Handbook, in turn, further
          describes the procedures applicable to the BIA internal
          affairs unit, which the Handbook states “is now known as the
          Professional Standards Division—(PSD).” The Handbook
          reiterates that tribal Chiefs of Police and supervisors “are
          required to report all allegations of misconduct . . . to PSD
          within 24 hours of occurrence.” Upon receipt of such a
          report, PSD will review the allegations and decide either to
          investigate the allegations itself or to refer it elsewhere. The
          Handbook also sets forth various procedural rights that an
          employee has during such an investigation and affirms that
          “PSD investigations will be objective, fair, and thorough.”

              Miller’s operative complaint sets forth these procedural
          protections, among others, and specifically alleges that the
          Tribe failed to comply with them in connection with its
          investigation of whether Miller had committed
          unemployment fraud. Given the mandatory reporting
          requirements set forth explicitly in 25 C.F.R. § 12.53 and the
          Handbook, the Tribe’s “failure to report” the fraud allegation
          against Miller to the PSD “constituted a failure to follow the
          mandatory requirements proscribed by agency regulations
          as implemented by policy guidelines” in the Handbook.
          Vickers, 228 F.3d at 953 (emphasis added). Moreover, the
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          failure to notify the PSD is sufficiently causally related to
          the ultimate termination decision because that omission
          allowed the Tribe to escape the BIA’s oversight, thereby
          enabling the Tribe (according to the complaint) to conduct a
          sham investigation and to fire Miller on the invalid and
          pretextual ground that he had committed unemployment
          fraud. Cf. Dichter-Mad Fam. Partners, LLP v. United
          States, 709 F.3d 749, 751 (9th Cir. 2013) (affirming
          dismissal of FTCA claim where “[t]hose policies that are
          arguably mandatory lack the causal relationship to the
          plaintiffs’ alleged injuries required to establish jurisdiction,
          even under a generous reading of the complaint”).

              Accordingly, under Vickers, the first element of the
          Gaubert-Berkovitz test is not met as to this claim, and “the
          FTCA’s discretionary function exception does not apply.”
          228 F.3d at 953. We therefore “need not proceed to the
          second part of the FTCA test and determine whether that
          judgment or choice was of the type Congress intended” to
          protect. Id. As a result, the district court erred in concluding
          that Miller’s third cause of action was barred by the
          discretionary function exception.

                                        III

              In denying Miller’s motion for leave to file a Third
          Amended Complaint, the district court relied solely on the
          ground that the discretionary function exception barred all of
          the claims asserted in that proposed complaint. We hold that
          the district court erred in concluding that the discretionary
          function exception barred the two additional claims Miller
          sought to raise in that complaint.
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              In addition to reasserting the three claims that we have
          already discussed, 8 Miller’s proposed Third Amended
          Complaint included two new claims alleging, respectively,
          that the Tribe was negligent and grossly negligent in
          terminating him. The gravamen of these two new claims
          was Miller’s allegation, based on the DETR document
          discussed earlier, that the Tribe terminated him “despite
          being informed and having knowledge” that Miller had been
          “the victim of identity theft and had not filed” the fraudulent
          unemployment claim. We agree with Miller that, because
          the BIA Handbook mandated that tribal employees could
          “not be disciplined for allegations deemed unfounded,
          exonerated, or not sustained,” the Tribe lacked discretion to
          fire him on grounds that it knew to be false and
          unsubstantiated. Because these claims rest on “a failure to
          follow the mandatory requirements” prescribed in the BIA
          Handbook, the first element of the Gaubert-Berkovitz test is
          not met and the discretionary function exception does not
          apply. Vickers, 228 F.3d at 953. The district court therefore
          erred in concluding that the discretionary function exception
          provided sufficient grounds to deny leave to amend to assert
          these two new claims. 9

                                    *        *        *

              For the foregoing reasons, the judgment of the district
          court is affirmed to the extent that it dismissed the
          retaliation-based causes of action in Miller’s Second

               8
                 The Third Amended Complaint added some additional allegations
          to these original three claims, but those amendments do not affect our
          earlier analysis.
              9
                As with the earlier claims, we express no view as to whether these
          two new claims state a cause of action under the applicable Nevada law.
          See supra note 6.
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          Amended Complaint (i.e., the first and second causes of
          action). We reverse the judgment to the extent that the
          district court relied on the discretionary function exception
          in (1) dismissing the third cause of action in the Second
          Amended Complaint and (2) denying leave to amend to
          assert the two new claims in Miller’s proposed Third
          Amended Complaint. The matter is remanded for further
          proceedings.

            AFFIRMED IN PART, REVERSED IN PART, AND
          REMANDED.
